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 14   Relevant Holdings, LLC
 15                       UNITED STATES DISTRICT COURT
 16                      CENTRAL DISTRICT OF CALIFORNIA
 17                                WESTERN DIVISION
 18
      RELEVANT HOLDINGS, LLC, a                 Case No. 2:21-cv-3174
 19   Georgia limited liability company,
 20                                             COMPLAINT FOR PATENT
                  Plaintiff,                    INFRINGEMENT
 21      v.
 22                                             DEMAND FOR JURY TRIAL
      MINDGEEK USA INC., a Delaware
 23   corporation; and MINDGEEK S.A.R.L.,
 24   a Luxembourg Société à responsabilité
      limitée,
 25
 26               Defendants.

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 28

                                       COMPLAINT
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  1                               GENERAL ALLEGATIONS
  2          Plaintiff Relevant Holdings LLC (“Relevant” or “Plaintiff”), files this
  3   Complaint and demand for a jury trial against Defendant MindGeek S.à r.l. and
  4   Mindgeek USA Inc. (collectively, “MindGeek” or “Defendant”) seeking relief for
  5   infringement of U.S. Patent Nos. 8,849,814 and 8,849,815 under 35 U.S.C. § 271 and
  6   any subsection thereof. Plaintiff states and alleges the following:
  7                              NATURE OF THE ACTION
  8          1.     This is a patent infringement action to end Defendant’s direct, joint,
  9   contributory, and/or induced infringement of Plaintiff Relevant’s patented
 10   inventions, including but not limited to Defendant’s unauthorized and infringing use,
 11   sale, offering for sale, manufacture, and/or importation of methods and products
 12   incorporating Plaintiff’s inventions.
 13          2.     Relevant has obtained all substantial rights and interest to U.S. Patent
 14   8,849,814 and U.S. Patent 8,849,815. Defendant utilizes these patents in its products
 15   and services, which are provided to consumers in order to generate revenue.
 16          3.     Plaintiff seeks to prevent Defendant from continued infringement of
 17   Plaintiff’s patent rights. Plaintiff further seeks past and future damages as well as
 18   prejudgment and post judgement interest for Defendant’s past infringement of the
 19   Plaintiff’s patents.
 20                                      THE PARTIES
 21          4.     Plaintiff Relevant is a limited liability company organized and existing
 22   under the laws of the State of Georgia, with its principal place of business located at
 23   4279 Roswell Rd NE, Suite 208 #305.
 24          5.     Upon information and belief, MindGeek USA Inc. is a corporation
 25   organized and existing under the laws of the State of Delaware, with an established
 26   place of business located at 23000 West Empire Avenue, 7th Floor, Burbank
 27   California 91504. Upon information and belief, Defendant can be served with process
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                                          COMPLAINT
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  1   by serving its registered agent for service of process in the State of California, CT
  2   Corporation System, 818 W 7th Street Suite 930, Los Angeles CA 90017.
  3         6.     Upon information and belief, MindGeek S.à r.l. is a Société à
  4   responsabilité limitée organized and existing under the laws of Luxembourg, with a
  5   place of business located at 32 Boulevard Royal, L-2249 Luxembourg City,
  6   Luxembourg.
  7         7.     Herein, “MindGeek” or “Defendant” refers to MindGeek USA Inc., and
  8   MindGeek S.à r.l., and all of their parents, subsidiaries, and affiliates.
  9                              JURISDICTION AND VENUE
 10         8.     This is an action for patent infringement, which arises under the Patent
 11   Laws of the United States, in particular, 35 U.S.C. §§ 271, 281, 283-285, among
 12   others. This Court has subject matter jurisdiction of the action under 28 U.S.C. § 1331
 13   and § 1338(a).
 14         9.     Upon information and belief, this Court has personal jurisdiction over
 15   Defendant, and venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b), (c),
 16   and 1400 because, among other things, MindGeek has established minimum contacts
 17   within the forum such that the exercise of jurisdiction over MindGeek will not offend
 18   traditional notions of fair play and substantial justice. For example, MindGeek has
 19   placed products and services that practice and/or embody the claimed inventions of
 20   the patents into the stream of commerce with the knowledge and/or reasonable
 21   expectation that purchasers and users of such products were located within this
 22   district. In addition, MindGeek has sold, advertised, marketed, and distributed
 23   products in this district that practice the claimed inventions of the patents. MindGeek
 24   derives substantial revenue from the sale of infringing products distributed within
 25   this district, and/or expects or should reasonably expect its actions to have
 26   consequences within this district and derive substantial revenue from interstate and
 27   international commerce.
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                                           COMPLAINT
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  1         10.    Venue properly lies in this district under the provisions of 28 U.S.C. §
  2   1400 because Defendant has committed acts of infringement and has a regular and
  3   established place of business located at 23000 West Empire Avenue, 7th Floor,
  4   Burbank, California 91504 in this Judicial District.
  5                                 PLAINTIFF’S PATENTS
  6         11.    Plaintiff’s patents at issue in this action relate to computerized methods
  7   of searching, sorting, and displaying video content according to relevance. Gregory
  8   Peters (“Mr. Peters”) conceived the invention in summer of 2008 and diligently filed
  9   for a patent. That patent application gave rise to both the ’814 Patent and ’815 Patent,
 10   which were issued on divisional applications that validly claimed priority to the initial
 11   patent application. Mr. Peters’ concept drew on a decade’s worth of experience as a
 12   senior executive at major technology firms including AT&T, Adtran, Internap
 13   Network Services, NDN, and Inform. Mr. Peters’ method also incorporated a broader
 14   understanding of U.S. information networks derived from years of service as a
 15   cybersecurity advisor to various U.S. Presidents, during which time he co-authored
 16   cybersecurity-related papers as directed by the White House.
 17         12.    In 2014, after six (6) years of extensive examination by USPTO
 18   Examiners, the ’814 and ’815 Patents were issued on the applied for subject matter
 19   in the form of U.S. Patent Nos. 8,849,814 (the “’814 Patent”) and 8,849,815 (the
 20   “’815 Patent”, collectively the “Patents”). The Patents were temporarily housed at
 21   Inform, Inc. (“Inform”), a company that Mr. Peters founded and operated, while also
 22   contributing to and managing the development of multiple other technologies. Once
 23   it was determined that Informs’ platform and business model would not utilize the
 24   patent portfolio, the Patents were transferred back to the original owner and
 25   developer, Mr. Peters. Mr. Peters’ company, Relevant Holdings LLC (“Relevant”),
 26   currently holds the Patents and has never licensed them to any adult content company.
 27         13.    The claims within the Patents are necessarily rooted in computer
 28   technology to overcome a problem specifically arising in the realm of computer
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                                          COMPLAINT
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  1   networks. The ’814 Patent includes an inventive concept because the sorting of
  2   categories of computerized documents was not well-understood, routine, and
  3   conventional at the time of the patent. Rather, documents were categorized and sorted
  4   according to keywords provided by the uploading party, with contemporary systems
  5   including no context-based evaluation to sort categories of documents from most to
  6   least pertinent. The same is true of the ’815 Patent, as it also recites a technological
  7   solution to a technological problem specific to computer networks and the
  8   presentation of related individuals according to a ranking system. Both solutions were
  9   unconventional at the time of the invention and presented an improvement over the
 10   prior art.
 11          14.   Upon information and belief, MindGeek has been using and continues
 12   to use Mr. Peters’ patented methodology to sort categories and persons related to
 13   adult content while heavily targeting the U.S. market. MindGeek owns a network of
 14   websites such as PornHub, RedTube, or YouPorn (collectively “Porn Sites”).
 15   MindGeek distributes and derives massive advertising revenue as a result of millions
 16   of daily users. These users are attracted and retained through continuous streams of
 17   video and other media content, which is served to them utilizing the methodologies
 18   embodied in the Patents. Unfortunately for Mr. Peters and Relevant, this behavior has
 19   proceeded unchecked for many years. MindGeek has made it clear that they are not
 20   receptive to licensing the Patents on which their Porn Sites infringe.
 21          15.   Upon information and belief, MindGeek has made billions of dollars in
 22   revenue and tens to hundreds of millions of dollars in profit while targeting the U.S.
 23   market over the life of the Patents. During this time, the organization has shown a
 24   relative disregard for the legality, or lack thereof, of their business. MindGeek has
 25   been sued for infringement of intellectual property numerous times over the last ten
 26   years. MindGeek has also faced numerous calls during the last year for criminal
 27   investigation in the U.S. by government officials and NGOs, as well as over 70
 28   parliamentarians from all parties in Canada, in relation to illicit content hosted on its
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                                          COMPLAINT
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  1   platform. This illicit content includes but is not limited to child pornography,
  2   nonconsensual sex acts, and human trafficking.
  3         16.    Relevant is suing MindGeek for patent infringement to recover a
  4   reasonable royalty incurred as a result of MindGeek’s infringing conduct.
  5   MR. PETERS TRANSFORMED THE WAY VIDEO AND AUDIO CONTENT
  6          IS SORTED AND PRESENTED BY COMPUTER NETWORKS
  7         17.    Mr. Peters grew up in a time of evolving information networks. As a
  8   young man, he had envisioned what the future state of technology would be in terms
  9   of screens, content, and advertising. As fate would have it, this vision shaped the
 10   entire internet content delivery industry. Following graduate school in the mid-1980s,
 11   Mr. Peters spent roughly a decade with AT&T International, conducting business
 12   operations in over fifty-four (54) countries, and finally as the Managing Director of
 13   the Middle East & Africa for AT&T. During the Gulf War, Mr. Peters led the
 14   infrastructure assessment and repair efforts for AT&T under the authority of the
 15   Ruling Family of Kuwait. Upon returning to the United States, Mr. Peters quickly
 16   rose to prominence as a technology executive in the mid-nineties. By the early
 17   2000’s, he was CEO and President of Internap Network Solutions, a well-established
 18   digital technology company with hundreds of millions of dollars in revenue. By the
 19   mid 2000’s Mr. Peters founded News Distribution Network (“NDN”), which
 20   revolutionized the syndication and monetization of digital video content across
 21   predominant newspaper, magazine, radio, and television websites.
 22         18.    Mr. Peters founded what would become Inform Inc. (“Inform”) in 2007
 23   and ran the company for 12 years before selling it to Bright Mountain Media Inc. in
 24   November of 2019. Inform made over one billion dollars in revenue over that time
 25   and resulted in a windfall for investors, who saw its holdings more than double in
 26   value. When Mr. Peters’ patent application was filed in 2008, the internet
 27   simultaneously began bringing video and audio content to consumers on an
 28   unprecedented scale. Due to enhancements in internet functionality, millions of
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  1   consumers could effectively query information networks daily in search of content
  2   that need only be uploaded one time. The result was a system through which one
  3   creator could efficiently reach the masses with the help of a few predetermined
  4   keywords. Mr. Peters, however, identified considerable inefficiency in this system in
  5   that consumers were conducting repetitive searches. Instead, he envisioned an
  6   internet where content was automatically sorted and presented to consumers based
  7   on the way previous users queried the system, thus removing the need for redundant
  8   searching by subsequent consumers.
  9         19.    In April of 2017, the Patents were transferred to Mr. Peters as their
 10   original owner after being housed in a company he had founded, granted that he
 11   would not assert them against the company or its successors by granting them a
 12   license for their use. At the time of the transfer on April 26, 2017, the Patents were
 13   formally assigned to Nile Holdings, LLC (a private Georgia company solely owned
 14   and controlled by Mr. Peters). Prior to initiating litigation, Mr. Peters sought to
 15   license the Patents through Nile Holdings (“Nile”) in an amicable fashion. However,
 16   Mr. Peters was rebuffed by the Defendant by and through their attorneys. On January
 17   26, 2021, the Patents were assigned to Relevant as a successor in interest of Nile.
 18                                   DEFENDANT’S ACTS
 19         20.    Relevant restates and realleges each of the allegations set forth above
 20   and incorporates them herein.
 21         21.    Upon information and belief, Defendant owns and operates a vast
 22   network of pornographic websites which have infringed and continue to infringe the
 23   Patents by making, using, and/or distributing infringing systems, articles, and
 24   methods. The Porn Sites owned by the Defendant employ methods of ranking
 25   categories or videos, and many also include rankings of performers. Relevant alleges
 26   infringement of the Patents by systems employed by the Porn Sites (the “Accused
 27   Systems”) which may be found on all of Defendant’s websites listed below as well
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  1   as all other websites owned by the Defendants which are not listed below but that use
  2   the Accused Systems and similar systems, platforms and/or protocols:
  3         •      PornHub.com (“Porn Hub”)
  4         •      YouPorn.com (“You Porn”)
  5         •      Tube8.com (“Tube 8”)
  6         •      Xtube.com (“X Tube”)
  7         •      ExtremeTube.com (“Extreme Tube”)
  8         •      RedTube.com (“Red Tube”)
  9         •      SpankWire.com (“Spank Wire”)
 10         •      KeezMovies.com (“Keez”)
 11         •      YouPornGay.com (“You Porn Gay”)
 12         •      PornMD.com (“Porn MD”)
 13         •      Brazzersnetwork.com (“Brazzers”)
 14         •      DigitalPlayground.com (“Digital Playground”)
 15         •      Twistys.com (“Twistys”)
 16         •      RealityKings.com (“Reality Kings”)
 17         •      SexTube.com (“Sex Tube”)
 18         •      Beeg.com (“Beeg”)
 19         •      Mofos.com (“Mofos”)
 20         •      GayTube.com (“Gay Tube”)
 21         •      Babes.com (“Babes”)
 22         •      Thumbzilla.com (“Thumbzilla”)
 23         •      SeanCody.com (“Sean Cody”)
 24         •      Men.com (“Men”)
 25         22.    The Defendant’s websites sort categories of content and adult
 26   performers according to a ranking system. Public client-facing elements of the
 27   computer code hosted on websites such as (but in no way limited to) PornHub show
 28   that individual categories or performers are identified by unique identifying data tags
                                             7
                                         COMPLAINT
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  1   (“IDs”) that do not change over time. However, the order in which the ranked
  2   categories or persons are presented to consumers is anything but static, with the IDs
  3   serving as a means for the platform to identify the categories or persons themselves
  4   while populating two dimensional arrays for consumption by visitors to the sites.
  5   Upon information and belief, nonpublic elements of the Defendant’s platform rank
  6   and populate these arrays according to a sorting and ranking of the IDs associated
  7   with these categories and persons which utilizes the systems and methods embodied
  8   by the Patents.
  9         23.    Upon information and belief, Defendant’s infringement is willful.
 10   Defendant has disregarded, and continues to disregard, an objectively high likelihood
 11   that its actions infringe at least claim 1 of each of the Patents, where such action
 12   constitutes egregious misconduct.
 13                       DIRECT AND JOINT INFRINGEMENT
 14         24.    Relevant restates and realleges each of the allegations set forth above
 15   and incorporates them herein.
 16         25.    Upon information and belief, Defendant uses, provides, and distributes
 17   infringing systems in this jurisdiction and elsewhere. For example, when a consumer
 18   accesses the categories page of PornHub, the website creates an array that populates
 19   the screen by ranking the ID associated with each category according to a scoring
 20   system, and then inserting it into the array according to that ranking calculation. A
 21   similar system of ranking IDs is employed for PornHub’s “Pornstar Rankings” page,
 22   as well as for PornHub’s “Model Rank” functionality, which includes a discrete
 23   system by which each performer is identified and a discrete rank is determined, with
 24   the top rank being attributed to the most popular performer at that point in time.
 25   PornHub explicitly states that a PornStar rank is determined “based on the
 26   performance of all your videos and other metrics”. All of these rankings are
 27   constantly changing, presumably as a result of consumers entering keyword searches
 28   and the relevant category or persons overall popularity on PornHub.
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   1         26.    Similar Accused Systems are incorporated into most if not all the Porn
   2   Sites owned by Defendant. Consumers are constantly seeking new categories or
   3   persons and are habitually delving into them by consuming several videos or images
   4   (“Documents”) in a single session. The ability to create an endless stream of
   5   Documents without the need for the consumer to repeatedly query the system allows
   6   the Porn Sites to continuously serve related content which is paired with advertising
   7   in order to gather revenue. Thus, infringement of the Patents directly contributes to
   8   the profitability of Defendant’s hosting and maintaining the Porn Sites.
   9         27.    All of the above acts constitute acts of direct infringement.
  10                             INDIRECT INFRINGEMENT
  11         28.    Relevant restates and realleges each of the allegations set forth above
  12   and incorporates them herein.
  13         29.    Upon information and belief, Defendant’s acts described as acts of direct
  14   infringement concerning the manufacture, use, offer for sale, sale operation,
  15   distribution, and/or installation of Defendant systems and/or software and those
  16   described below also constitute acts of induced and contributory infringement.
  17         30.    Upon information and belief, third parties including Defendant’s
  18   customers, users, consumers, and content owners within this jurisdiction and
  19   elsewhere directly infringe the Patents and Defendant induces and/or contributes to
  20   that infringement. As an example, only consumers of the Porn Sites, and thus users
  21   of the Accused Systems, access Defendant’s platform in order to upload or retrieve
  22   adult videos, clips, and other documents by using and putting into use the systems
  23   and solutions claimed by the Patents. Further, consumers query the website and
  24   browse popular categories or performers by using software made available on the
  25   Defendant’s platform, thus Defendant induces consumers and third parties to use an
  26   infringing system and method, and the third parties do in fact infringe.
  27         31.    Defendant induces consumers and third parties to infringe by providing
  28   free content to consumers, higher quality content to paid subscribers, and monetarily
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                                          COMPLAINT
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   1   compensating performers for uploading and cataloguing content for consumption
   2   according to performers and subject matter category.
   3         32.    To the extent that some elements of a claim are performed by a different
   4   party than the Defendant, Defendant, through its software and infringing systems,
   5   puts the claimed system of the Patents into service as described herein and receives a
   6   benefit upon performance of steps of the methods of the Patent. To the extent
   7   multimedia is provided by third party servers or networks, Defendant’s systems
   8   and/or Defendant’s customers’ systems put these third party systems into use.
   9         33.    Upon information and belief, Defendant receives a benefit from such
  10   actions by the third parties as it allows Defendant to provide a desirable product or
  11   allows the third parties to purchase products and services from Defendant.
  12         34.    Upon information and belief, Defendant provides its customers and/or
  13   other third parties instructions, materials, advertisements, services, encouragement,
  14   and software to use, load, and/or operate the Accused Systems in an infringing
  15   manner. Sending computerized instructions are acts of control by Defendant on the
  16   players of third parties. Upon information and belief, Defendant further induces its
  17   customers and third parties to use the Accused Systems by providing subscriptions
  18   for the Accused Systems. Defendant has actively induced infringement by its
  19   customers and/or third parties in this jurisdiction.
  20         35.    Upon information and belief, Defendant has acted with the specific
  21   intent to induce or cause infringement and to conduct acts of infringement as
  22   described herein within this jurisdiction and elsewhere. Defendant continues to
  23   provide access to the Accused Systems to its consumers and third parties in an
  24   infringing manner since having notice and actual knowledge of the Patents.
  25         36.    Upon information and belief, customers and users of the Accused
  26   Systems reside in this jurisdiction and conduct acts of infringement within this
  27   jurisdiction. Upon information and belief, Defendant has been and continues to
  28   indirectly infringe the Patents within this jurisdiction and elsewhere in the United
                                              10
                                           COMPLAINT
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   1   States by, among other things, inducing and/or contributing to third parties’
   2   infringement of the claims of the Patents without Plaintiff’s authority.
   3         37.    Upon information and belief, Defendant provides, makes, sells, and
   4   offers its Accused Systems with the specific intention that its customers and/or other
   5   third party direct infringers use the Accused Systems in an infringing manner.
   6         38.    Upon information and belief, the Accused Systems have no substantial
   7   non-infringing use and is especially made and/or adapted so as to infringe the Patents.
   8         39.    Upon information and belief, Defendant knows its systems, articles and
   9   services are especially made or especially adapted for use in an infringement of the
  10   Patents and not a staple article or commodity of commerce suitable for substantial
  11   non-infringing use.
  12         40.    Defendant acquired knowledge of the Patents no later than September
  13   25, 2020, the date Defendant received Plaintiff’s Notice of Infringement letter.
  14         41.    Defendant has had notice and actual knowledge of the Patents at least as
  15   of the service date of this complaint.
  16         42.    Notwithstanding, Defendant continues to willfully and with specific
  17   intent infringe upon and cause others to infringe upon one or more claims of the
  18   Patents.
  19                                            COUNT 1
  20       (Direct and Indirect Infringement of United States Patent No. 8,849,814)
  21         43.    Relevant restates and realleges each of the allegations set forth above
  22   and incorporates them herein.
  23         44.    Defendant, without the permission of Relevant, has been and is presently
  24   infringing multiple claims of the ’814 Patent, as infringement is defined by 35 U.S.C.
  25   § 271(a) as “making, using, offering to sell, and selling” the Accused Systems. By
  26   way of example only, Defendant’s Porn Sites such as PornHub utilize a “computer-
  27   implemented method of ranking categories, each category having at least one
  28   keyword, each category having a plurality of associated documents”, and thus uses
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                                           COMPLAINT
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   1   the invention covered by at least one claim of the ’815 Patent, such as but not limited
   2   to claim 1.
   3         45.     Defendant indirectly infringes the ’814 Patent by inducing or
   4   contributing to the infringement of the ’814 Patent, including but not limited to
   5   infringement by its customers/consumers, in violation of 35 U.S.C. § 271(b)-(c)&(f).
   6         46.     Defendant does not have a license or permission to use the claimed
   7   subject matter of the ’814 Patent.
   8         47.     As a direct and proximate result of Defendant’s direct, joint, induced,
   9   and/or contributory infringement of the ’814 Patent, Relevant has been injured and
  10   has been caused significant financial damage.
  11         48.     Defendant’s aforementioned acts have caused damage to Relevant and
  12   will continue to do so unless and until enjoined.
  13         49.     Relevant alleges upon information and belief that Defendant has,
  14   knowingly or with willful blindness, willfully infringed one or more claims of the
  15   ’814 Patent. Defendant had knowledge of the Patents as set forth above, having been
  16   advised of the existence and substance of the Patents by Relevant and its predecessor
  17   Nile. Defendant acted with knowledge of the Patents, and, despite its knowledge or
  18   despite that it should have known of an objectively high likelihood that its actions
  19   constituted infringement of Relevant’s valid patent rights, continue to infringe.
  20         50.     This objectively defined risk was either known or so obvious that it
  21   should have been known to Defendant. Relevant seeks enhanced damages pursuant
  22   to 35 U.S.C. § 284 from Defendant. As a result of Defendant’s infringement of the
  23   ’814 Patent, Relevant has suffered monetary damages. Defendant is thus liable to
  24   Relevant in an amount that adequately compensates it for Defendant’s infringement,
  25   which, by law, cannot be less than a reasonable royalty, together with interest and
  26   costs as fixed by this Court under 35 U.S.C. § 284.
  27   ///
  28   ///
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   1                                         COUNT 2
   2               (Direct Infringement of United States Patent No. 8,849,815)
   3         51.    Relevant restates and realleges each of the allegations set forth above
   4   and incorporates them herein.
   5         52.    Defendant, without the permission of Relevant, has been and is presently
   6   infringing multiple claims of the ’815 Patent, as infringement is defined by 35 U.S.C.
   7   § 271(a) as “making, using, offering to sell, and selling” the Accused Systems. By
   8   way of example only, Defendant’s Porn Sites such as PornHub utilize a “computer-
   9   implemented method of ranking persons, each person being associated with at least
  10   one document, a search engine identifying relevant documents based upon a search
  11   request for a person”.
  12         53.    Defendant indirectly infringes the ’815 Patent by inducing or
  13   contributing to the infringement of the ’815 Patent, including but not limited to
  14   infringement by its customers/consumers, in violation of 35 U.S.C. § 271(b)-(c)&(f).
  15         54.    Defendant does not have a license or permission to use the claimed
  16   subject matter of the ’815 Patent.
  17         55.    As a direct and proximate result of Defendant’s direct, joint, induced,
  18   and/or contributory infringement of the ’815 Patent, Relevant has been injured and
  19   has been caused significant financial damage.
  20         56.    Defendant’s aforementioned acts have caused damage to Relevant and
  21   will continue to do so unless and until enjoined.
  22         57.    Relevant alleges upon information and belief that Defendant has,
  23   knowingly or with willful blindness, willfully infringed one or more claims of the
  24   ’815 Patent. Defendant had knowledge of the Patents as set forth above, having been
  25   advised of the existence and substance of the Patents by Relevant and its predecessor
  26   Nile. Defendant acted with knowledge of the Patents, and, despite its knowledge or
  27   despite that it should have known of an objectively high likelihood that its actions
  28   constituted infringement of Relevant’s valid patent rights, continue to infringe.
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                                            COMPLAINT
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   1         58.    This objectively defined risk was either known or so obvious that it
   2   should have been known to Defendant. Relevant seeks enhanced damages pursuant
   3   to 35 U.S.C. § 284 from Defendant. As a result of Defendant’s infringement of the
   4   ’815 Patent, Relevant has suffered monetary damages. Defendant is thus liable to
   5   Relevant in an amount that adequately compensates it for Defendant’s infringement,
   6   which, by law, cannot be less than a reasonable royalty, together with interest and
   7   costs as fixed by this Court under 35 U.S.C. § 284.
   8                                PRAYER FOR RELIEF
   9         WHEREFORE, Plaintiff Relevant respectfully requests that the Court:
  10         A.     Enter judgement that Defendant directly infringes, contributes to
  11   infringement, or induces others to infringe one or more claims of the Patents literally
  12   or under the doctrine of equivalents;
  13         B.     Permanently enjoin Defendant, their agents, servants, and employees,
  14   and all those in privity with Defendant or in active concert and participation with
  15   Defendant, from engaging in acts of infringement of the Patents;
  16         C.     Award Plaintiff past and future damages together with prejudgment and
  17   post-judgment interest to compensate for the infringement by Defendant of the
  18   Patents in accordance with 35 U.S.C. § 284;
  19         D.     Award Plaintiff an ongoing royalty in an amount to be determined for
  20   continued infringement after the date of judgement;
  21         E.     Declare this case exceptional pursuant to 35 U.S.C. § 285; and
  22         F.     Award Plaintiff its costs, disbursements, attorney’s fees, and such
  23   further and additional relief as deemed appropriate by this Court.
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   1   Dated: April 13, 2021             ONE LLP
                                         By: /s/ John E. Lord
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                                         John E. Lord
   3
                                         CONWAY EADER LLP
   4
                                         Granison Eader
   5                                     Justin T. Conway
   6                                     (Pro Hac Vice Forthcoming)

   7                                     Attorneys for Plaintiff,
   8                                     Relevant Holdings, LLC

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   1                             DEMAND FOR JURY TRIAL
   2         Plaintiff Relevant hereby requests a trial by jury on all matters to which it is
   3   entitled to trial by jury pursuant to Rule 38 of the Federal Rules of Civil Procedure.
   4
   5   Dated: April 13, 2021                  ONE LLP
                                              By: /s/ John E. Lord
   6
                                              John E. Lord
   7
                                              CONWAY EADER LLP
   8
                                              Granison Eader
   9                                          Justin T. Conway
  10                                          (Pro Hac Vice Forthcoming)

  11                                          Attorneys for Plaintiff,
  12                                          Relevant Holdings, LLC

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